Case 1:05-cr-100l2-.]DT Document 23 Filed 08/11/05 Page 1 of 2 Page|D 26

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IN THE UNITED sTATEs DISTRICT coURT 05 \%D'C
FoR THE wEsTERN DIsTRICT oF TENNESSEE 409/l '
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UNITED sTATEs oF AMERICA ‘

vs Criminal No. l:OB-lOOlZ-Ol-T

JAMES CURTIS BAKER

ORDER CONTINUING TRIAL DATE AND SPECIFYING DELAY
EXCLUDABLE UNDER SPEEDY TRIAL AC'I1
Upon motion of counsel for the defendant the trial date of
August 8, 2005, is continued to allow counsel for the government
and defendant additional time in which to prepare. The ends of
justice served by taking such action outweigh the best interest of
the public and the defendant in a speedy trial.

The Clerk shall re-set the REPORT DATE/MOTION HEARING for
Tuesday, Augg§t 30, 2005 at 9:00 A.M. and reset TRIAL DATE for
Monday, October 3, 2005 at 9:30 A.M. The Court finds that the
grounds for this continuance justified excluding the period of
August lO, 2005 to October 3, 2005, as excludable delay under Title

18 U.S.C.§3l€l(h)(3)(A)(B)and(h)(8) (iv).

QMWAM

ES D. TODD
U TED STATES DISTRICT JUDGE

DATE=// @G‘UPH/.LT 2005/

IT IS SO ORDERED.

Thfs document entered on the docket sheet in compliance
with nule 55 and/or az{b) Fnch on § f l 9» 1 Q 5

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

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ThiS notice confirms a copy of the document docketed as number 23 in
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August 12, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

